   Case: 4:19-cv-01830-JAR Doc. #: 13 Filed: 08/19/19 Page: 1 of 1 PageID #: 45




                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MISSOURI
                                   ST. LOUIS DIVISION

    JAMES DAHER, individually and on              )
    behalf of all others similarly situated,      )
                   Plaintiffs,                    )
                                                  ) Case No. 4:19-cv-1830-JAR
           V.                                     )
                                                  )
    ASCENT CAPITAL GROUP, INC. and                )
    MONITRONICS INTERNATIONAL,                    )
    INC.,                                         ) Jury Demanded
             Defendants.                          )



                                          DISMISSAL
                                      WITHOUT PREJUDICE


           Plaintiff hereby dismisses this case withoutprejudice pursuant to Fed.R.Civ.P.

4l(a)(l)(A)(i). Dismissal is proper because neither defendant has answered, and neither

defendant has filed a motion for summary judgment.




                                               ls/Robert T. Healey

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